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                          6 Attorneys for Plaintiff

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                          8                                  I N THE U NITED S TATES D ISTRICT C OURT

                          9                                   I N AND F OR   THE   N ORTHERN D ISTRICT

                         10                                          S AN F RANCISCO D IVISION

                         11

                         12    RiskIQ, Inc., a Delaware Corporation,
ComputerLaw Group LLP




                                                                                      Case No. 3:14-cv-05463-HSG
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                         13                     Plaintiff;
                                                                                      NOTICE OF SETTLEMENT AND REQUEST FOR
                         14             v.                                            DISMISSAL SUBJECT TO CONTINUING
                                                                                      ENFORCEMENT JURISDICTION
                         15    Risk IO, Inc., a Delaware Corporation
                                                                                      FED.R.CIV.P. RULE 41(A)(2) AND RULE 65
                         16                     Defendant.

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                              Settlement Notice, Dismissal Request                                       Case No. 3:14-cv-05463-HSG
                                        Case 4:14-cv-05463-HSG Document 14 Filed 03/20/15 Page 2 of 2




                          1                      N OTICE    OF   S ETTLEMENT AND R EQUEST FOR D ISMISSAL

                          2                      S UBJECT TO C ONTINUING E NFORCEMENT J URISDICTION

                          3           Plaintiff RiskIQ, Inc. and Defendant Risk IO, Inc. have agreed to resolve and settle this

                          4 Action by mutual agreement and entered into a Confidential Settlement Agreement effective

                          5 March 9, 2015.
                                    Accordingly, pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, RiskIQ
                          6
                            respectfully requests that the Court dismiss the above-captioned action with prejudice, and
                          7
                            RiskIQ further respectfully requests that the Court retain jurisdiction over the Confidential
                          8
                            Settlement Agreement signed between the parties, and all matters arising out of the Confidential
                          9
                            Settlement Agreement, including enforcement of its terms under Rule 65 of the Federal Rules of
                         10
                            Civil Procedure if required.
                         11                                                       Respectfully submitted,
                         12 Dated: March 20, 2015                                      COMPUTERLAW GROUP LLP
Computerlaw Group LLP
 www.computerlaw.comsm




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                         14                                                   By:      /s/ Christopher Sargent
                                                                                       Jack Russo
                         15                                                            Christopher Sargent

                         16                                                            Attorneys for Plaintiff
                                                                                       RISKIQ, INC.
                         17
                                                                     O RDER   OF    D ISMISSAL
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                                      For good cause shown, the above-captioned action is dismissed with prejudice.
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                                      This Dismissal shall not extinguish the Parties rights and obligations under the March 9,
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                              2015 Confidential Settlement Agreement, and the Court expressly reserves and retains
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                              jurisdiction over the parties’ Confidential Settlement Agreement, and all matters arising out of
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                              the Confidential Settlement Agreement, including enforcement of its terms.
                         23
                                      SO ORDERED.
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                              Dated: 3/20/2015
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                                                                                       Hon. Haywood S. Gilliam, Jr.
                         27                                                       Judge of the United States District Court

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                              Settlement Notice, Dismissal Request            1                            Case No. 3:14-cv-05463-HSG
